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P|aintiff

VS.
CR. NO. 05-20055-Ma

TAVAR|S BOOTHE

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PERlOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on June 30, 2005. At that time, counsel forthe
defendant requested a continuance of the Ju|y 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a

report date of Friday, July 22l 2005, at 2:00 p.m., in Courtroom 2 11th F|oor of the
Federa| Building, Memphis, TN.

 

The period from June 30, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

|T |S SO ORDERED this d day Of Ju|y, 2005.

 

U ITED STATES D|STR|CT JUDGE

This document entered on the docket sheet' in compliance
with Hule 05 ano!or 32(b) FHCrP on 74

 

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This notice confirms a copy of the document docketed as number 28 in
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Honorable Samuel Mays
US DISTRICT COURT

